Case 2:18-cv-01291-GRB-AYS                  Document 53            Filed 02/08/23   Page 1 of 2 PageID #:
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 LEONIDES ROSALES, individually and on behalf of,                             Index No.: 18-CV-01291
 other similarly situated,                                                               (GRB)(AYS)

                                                      Plaintiff,

         -against-

 TANDOORI TOUCH, LLC. (d/b/a TANDOORI TOUCH
 a/k/a WOK N’ TANDOOR a/k/a WOK N’ GRILL),
 BABAR SHARIF, SHOAIB S. MUHAMMAD
 (a/k/a SHAWN M.) and HASAN SULTAN,

                                                       Defendant(s),
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                                       NOTICE OF APPEARANCE

         Please take notice that the undersigned hereby appears as counsel of record for the defendant,

 SHOAIB S. MUHAMMAD (a/k/a SHAWN M.), all future papers should be served upon the

 undersigned at the address listed below.

 Dated: February 7, 2023
        Hicksville, New York

                                                               __________________________________
                                                               By: Louis F. Chisari, Esq. (LFC0383)
                                                               Marcote & Associates, P.C.
                                                               108 New South Road
                                                               Hicksville, New York 11801
                                                               File No.: MA23-0599
                                                               Tel: (516) 280-2281
                                                               Fax: (516) 280-2283
                                                               E-Mail Address: lchisari@marcotelaw.com
 TO:
 CSM LEGAL, P.C.
 Attorney(s) for Plaintiff: LEONIDES ROSALES
 60 East 42nd Street, Suite 4510
 New York, New York 10165
 via ECF
Case 2:18-cv-01291-GRB-AYS      Document 53        Filed 02/08/23   Page 2 of 2 PageID #:
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              UNITED STATES DISTRICT COURT
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        LEONIDES ROSALES, individually and on behalf of other similarly situated

                                       -against-

   TANDOORI TOUCH, LLC. (d/b/a TANDOORI TOUCH a/k/a WOK N’ TANDOOR a/k/a
   WOK N’ GRILL), BABAR SHARIF, SHOAIB S. MUHAMMAD (a/k/a SHAWN M.) and
                               HASAN SULTAN,

 ______________________________________________________________________________
 ______________________________________________________________________________


                  ‘NOTICE OF APPEARANCE’
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                        MARCOTE ASSOCIATES, P.C.
                          Attorney and Counselors at Law
                              Attorneys for Defendant:
                     SHOAIB S. MUHAMMAD (a/k/a SHAWN M.)
                               108 NEW SOUTH ROAD
                          HICKSVILLE, NEW YORK 11801
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